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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF KANSAS


T]NITED STATES OF AMERICA.

                         Plaintiff,

                                                        Case   No.   18- 01158

DEFENDANT NO. 1: $4,000.00 IN
UNITED STATES CURRENCY, MOTC
or less;

DEFENDANT NO. 2: $3,900.00 IN
UNITED STATES CURRENCY, MOTE
or less,

                         Defendants.


                           COMPLAINT FOR FORFEITURE IN REM

           Plaintiff, United States of America, by and through its attomeys, Stephen R. McAllister,

United States Attomey for the District of Kansas, and Colin Wood, Special Assistant United States

Attomey, brings this complaint and alleges as follows in accordance with Supplemental Rule G(2)

of the Federal Rules of Civil Procedure:

                                      NATURE OF'THE ACTION

           l.     This is an action to forfeit and condemn to the use and benefit of the United States

of America the following property: $7,900.00 in U.S. Currency, more or less (hereinafter

"defendant property"), for violations of21 U.S.C. S 841-

                                      THE DEFENDANT IN REM
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          2.      The defendant property consists of: $7,900.00 in United States currency, more or

less, that was seized by the United States Postal Inspection Service on or about December 11,

2017 in a postal facility in Kansas City, Kansas on September          28,2017. The currency     is

currently in the custody of the United States Marshal's Service.

                                     JURISDICTION AI\TD VENUE

          3.      Plaintiff brings this action in rem in its own right to forfeit and condemn the

defendant property. This Court has jurisdiction over an action commenced by the United States

under 28 U.S.C. S 1345, and over an action for forfeiture under 28 U.S.C. S 1355.

          4.      This Court has in rem jwisdiction over the defendant property under 28 U.S.C.

I   355(b). Upon filing this complaint,     the   plaintiff requests that the Court issue an arest warrant

in rem pnts:uant to Supplemental Rule G(3)(b), which the plaintiffwill execute upon the property

pursuant to 28 U.S.C. S 1355(d) and Supplemental Rule G(3)(c).

          5.      Venue is proper in this district pursuant to 28 U.S.C. S 1355(bX1), because the

acts or omissions giving rise to the forfeiture occurred in this district and/or pursuant to 28

U.S.C. S 1395, because the defendant property is located in this district.

                                       BASIS FOR FORF'EITURE

          6.      The defendart property is subject to forfeiture pursuant to 21 U.S.C. S 881(aX6)

because    it constitutes   1) money, negotiable instruments, securities and other things    ofvalue

fumished or intended to be fumished in exchange for a controlled substance in violation ofthe

Controlled Substances Act; and/or 2) proceeds traceable to such an exchange; and/or 3) money,

negotiable instruments, and securities used or intended to be used to facilitate a violation ofthe

Controlled Substances Act.
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         7.          Supplemental Rule G(2)(f) requires this complaint to state sufficiently detailed

facts to support a reasonable belief that the government will be able to meet its burden of proof

at   trial.   Such facts and circumstances supporting the seizure and forfeiture      ofthe defendant

property are contained in Exhibit A which is attached hereto and incorporated by reference.

                                        CLAIM FOR RELIEF

         WHEREFORE, the plaintiff requests that the Court issue a warrant for the arrest of the

defendant property; that notice    ofthis action be given to all persons who reasonably appear to be

potential claimants of interests in the properties; that the defendant property be forfeited and

condemned to the United States of America; that the      plaintiff be awarded its costs and

disbursements in this action; and for such other and further reliefas this Court deems proper and

just.

         The United States herebv requests that trial   ofthe above entitled matter be held in the

Citv of Wichita. Kansas.

                                                         Respectfu   lly submitted,




                                                         coLIN D. WOOD,      #19800
                                                         Special Assistant United States Attomey
                                                         1200 Epic Center,301 N. Main
                                                         Wichita, Kansas 67202
                                                         (3r6) 269-648r
                                                         Fax (316)269-6484
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                                                                                 AFFIDAVIT



                                 I, Paul $hade, boing first duly swom on                oat[ rtate as follows:

                                                             AGEIIT IMNODUCTION AI{D BACKGROI.JNI}

                                  l,           I am   a   United States Postal Inspector with the United $lates Fostal Inspection

                  Senice, and have been so eraployed shce Apdl, 2004, I am curentty assigred to the Kansai

                  City Field Offict ofthe Postal Inspection Sorvico and have oxperionco enforcing. {deral mail and

                  drug laws. This               affidryit    is based on my owtr pononsl knowledge *nd                     hformarion gir.cn'ro me

                  by othcr Postal Insp€ctoN rnd other law enforccmcnl pcrsonnel.

                                 2.            I received bagic training for approximately I2 weeks ftom the Unitcd Sates

                  Postal Inspcution Service regruding individuels using the United Ststes Mail to transport

                  controlled substatrce5 and proceeds ftom the sale of contolled subqfslces ag well as thc uEc                                        of
                  Postal Moncy Ordcrs lo laundcr                    th! procecdr of conhoiled eubstances, I received formal training

                  for    one.    *'eek ia January, 2009, when I attended thc United Stat€ Postal Inspection $mrice

              Narsotics nainirg coursc iu Potomac, Maryla-ud, This raining involved narcotic investigation

                  techniqucs, chcmtcal fieid testtng, and trainhg in t&e idedification and deteclion ofconEolled

                  substances and narootic proceeds being transportcd ln th6 Unitcd States                                  Mail and othsr

              commerclal oarribrs

                                 3,           The U, S. Fostal Inspection Service has implemented a parcel profile program

              targeting parcels mailed to. and from areag ofths United Statee whicb have been identificd by law

              cnforocrncnt as bcing source atess for thc disnibution of controlled eubstances. The Kansas City

              Field OJfice Poshl Iuspootion Servioe program consistr of reviewing postal service reoords and a

              phyrlcal profile ofExpress and Priority Mail parcels and envelopcs *'hich have originated from




PAoE lr5 ' ncYD   Al    5lJ   lizolE 0r0l i l5 PM llarlcrn orylgr* nm.l " gvi:MANnFAxoozt ' Dt{tg ina1t5565o8   ^   6sro:!16.t41.!40t   . ouRAltoN tmm.*r}ro1.t6
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                and/or have been reseived for delivcry in the District ofKansas and Western Dishiot                              of
               Missouri.

                                                                     PROBABLECAUSE

                         4.         On Dec&mber 4, 2017, Inrpector Shadc was                  lotified ofa prrcel dcstincd for ar

               ad&ess in Hornbrook, CA {hat had received a large number (in excess                           of   100 parcels) from the

               Krrsas City Brea. Insp€ctor Shade contacted ihe Hombrook CA post office and had the Subject

               Iamel I routsd to my office, The Subjecr Paroel I                   wa.s and   identificd   as   Pdority mail pieoe
               -950551521466?3311l?E64,"
                                                          addressed to "PO Box #301, Hombrook,                  CA 96044" with           a retr.rm

               addrcss of "Apcx CDL, C/O Matt Taylor, 6801 Statc Avc, Itansas City,                             K$ 66102," was mailed

               on Novernber 27, 2017 from Kanses City, KS Post OfEce 66112. Further, this                              p*ccl     weigb.s

               alproxirnately 9 ources and bears $6.65 in postage ("$ubject Parcel l "),

                         5,         Baged on my haining and experience                I kuow rhere ffe cqsrmgn charsc,terisrics

               ueed by"individusls who traffic in             illcgal controllcd eubstatrccs via the U,S. Meil, Thc Subject

               Parcel contained several of            thffc charactefistics inoludine:

                                   a.           The Subject Parcel *as mailed to a known illcgal dnig source digtribution

                                                aleB (i,e., Califonda).

                                   b.          Tht .Subject Parcel is sirrrilar is size and woight of previously seized

                                               parceh containing illegal narcotics or US Currency.

                                   c,          The Subj ect Parcel's postage was pard with cash.

                                   d,          The Subj eot Parcel does not requlre a signatu$ upon dclivcry,




                         6.        I queried the Subject Parcel's listed retum adctress.information (Apex CDL, C/O

               Man Taylot, 6801 $tate Ave, Kansa* City, KS 66102) in rhe CLEAR Law Enforcement




                                                                         2

FAOE 2/5 * RCVD AT 5l!rr2018 610l r15 PM   lla$$rn lryll0ht Trm4 " IVA:MANRFAXo0ZI ' ONIE:651ri$rt08 ' CEID:! |'.C41't401   r qURATTON   (mm.$)i01.16
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                      Database as well as thc US Postal Scrvisc Addrcss Maoaganent                              SFtem. The         addtEss was

                      idsntificd       as   r   valid address, and Apex CDL is listed as tho aompany at that addrcos. I queried

                      thp adrtocssee information (PO Box #301, Hombrook,                          CA 96044) in the CLEAR             law
                      Enforccmsnt Dabbosc and Jackie Snethen wts ldentified as being tho ounonl oumer of thc PO

                      Box per tbe Posal Manager,

                               7   ,             On December 4' 2017, Subject Parcel 2 war also idcntified as being mailed to tho

                      sarne addfas.e            fiom Kansas City, Thc Subjed Parccl2 was and identified                    ag   Prlorlty mail piece

                      "9505E15214687338060841," addrcssed to                              "!O Box#301, Hornbmok, CA 96044" with a rctum
                      addrcss of "Apcx             cDL, c/O MaB Taylor, 6801                 Statc Ave, Kansas Ctty, KS 66102," was mailed

                      on Novcrubet 27,2017 from                  Kaffas City, KS Post Office 66112. Furthcr, thia                  parcoL wcighs


                      approximately 8 ounces and bsaru $9.30 in postagc ("Subjcct Parccl                            l'),   Subject Parcei 2 was

                      also routcd t6            ny otfice.

                                 8.             Two additional parccls ftom a scparatc mailcr in the Kansas City Area were elso

                      destired for th€ same PO Box and were routed to my office. (Subject Paroels 3 & 4)

                               9.                On Deccmber 7,?-017 I was notified by the Suporvisor (Robinsoa) ofthe

                      Hornbrrok Post Offlce that Josh Reno came iato tbe post offrcc inquiring about the nibject

                      pdrocls.     llo pmvidcd tr         .aoking   numbcn on crch of lhcm and gave his conlact phone nurnber as

                      (713)592-29rr.

                                 10.             On Deoemtret       1   l,   2017 I cantacted Dctcctive   Actot of the Kansae Cjty MisBouri

                      Police Deparcrrent ard rcqueoted an cxtorior odor searth at the Itrspcction Scryice Office in                              ,




                      Overlard Park              KS. I.placcdthc             Subject Pueels in an $ca, whero oth€r slmilar empty boxcc artd

                      pogtsl cnvelopes wpro located in ttre                     factlity, At app,roximatcly 1303, 1304, 1306 & 1307 hours, I

                      observed Daccdve Acton and his cenlfled                          nrcotic canine, Bennett,     search the area.      I observed




                                                                                      )
PAOS   lr5 r   RCYD   Al y3lnfi8   a:01: | 5 FM    lEart .n O$,tgtt Tlmd. ayR:mA]$AX002yt ' Da{t8t6a1€f0f08.   cgtotft0.e4t.t4of    'OuRAftON (mn.4tioi 46
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                    Bennctt scatch the area and then sat facing the Subject Parcels at the respective times. Detective

                    Acton stated Berinett's actions indicated he had alerted to the Subj ect Parcels as containing a

                    narcotic odor,

                              11.            According to Detectivo Aoton, Bennott is                           I   ssv€n   yer   old, male Labrrador

                    R-erieva. Bennett was first certified by the National Police CEnine Associatc in 2012, Bcnnea

                    is trained to deleot the odbrs of ooaaioe, mar$uanq heroin, and methanphetamine. Bennett was

                    last certificd     ty     the Kansas City, MO Policc Dcparfirent in April 2017. Since                                   be   ing certified,

                    Bennett has reoovered 727.59 pounds of marij u ans,24,79 pou:rd.s of cocdnc, 50.78 pounds                                                of
                    methamphetamine, L3 pou:rds of                       haoin,    1.1 gallons PCP,2633 units Ecstasy, and $280,160.in

                    US Currcncy.

                              12.            On Dcccmbcr           l!,   Z0l7l   called the phone number given by Joeh Reno and Jackie

                    Snethan answercd the phone, She indiceted that she                             still receives nail nt thc PO Box 301 but lhat

                   Jtish REno shouid not be receiving any mail there; She ssid thEt Reno was a former roommate

                   that hgd moved out, $nothen had no idea why Reno would have pmvided hcr phone nunber to

                   the post offioe, $nethcn did not have a cunent phone number for Reno. Juskie Srre0rcn was

                   oontacled via phone                md denied knowledge 0f thu paakages and consented to                                a scarch    of fiem.

                             13,         A scarsh ofSubject Parccl I revealed $4000 cash consoelod inaidc an onvelope

                   and bubble mailer, Subject Parcel 2 revealed 93900 cash concsaled inside an enveJope and

                   bubblo.mailer as wel.l, $ubjeot Parcels 3 and 4 conained $9000 and $10800 rcspectivcly,

                             14,         On Decomber 12, 2017 at approximately                              1   130 hours    I sonttctad Matt Taylor via

                   phone at hi$ place of businees, Apax CDL, Aftcr                              idcntiffig           myself Taylor said ,,oan $re meet to

                   discuss this" afld '\ryondcrcd                if yor:'d   be calling" and         "didn't know if it was urong," Taylor                   wfft
                   on to explain thst he had mdled borh of the packages and kncw thcre was a problem becauee he




                                                                                    4

PAcE 415   '   RcYD A1 5nt/2018 Giol   il5   Pin   lla.tcrn Bnylght r||:l.l i avR:mANnFAXo0zt    r oNtg   r05145!tJ08 ' cerD:3    t0'941't40I ' OURAI|ON   (mm.'t)10146
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          was   tffking     them and knew that they had beenr held up: Taylor explained tbat hc was

          approached by Josh Rsno at a bar "Afrershock ' in rhe KC arca and             Rsm implied a tbreat

          regarding paymcnt ofan old dcbt ofTaylor's fathcr.

                  Taylor stated that Reno and his f&ther were "buslness partners" whlch he latcr cxplained

         that they were in the drug business together, Reno said that         faylor's father still owed him

         $20,000 and that Taylor vaould have to pay because his father passed away, Taylor decided to

         rcpay somc of thc dr:ug     &bt    so he sent rnoncy from his family and his own in the arnountg       of

         $3900 and around $4000.

                  Taylor said he did no: put any narnc on it bccause the rddress bclongs to an old family

         friend Jackie Snethen and that Josh would accoss rhe PO Box with thc key he still possessed

         when he was roommates witlr Snsthen

                  Taylor was. asked ifhe has ever sent money to Snelhen snd he said '!es, $200 casb for

         the twins birthday irr    Novcmber."

                  I then re-oontgcted Snethen and asked         if Taylor had ever sent   cash !o hec, and she said

         'inover, he mailed clothae snd hats to the twitrE and birthday card6, nevor cash.,,

                  Further research revealed spproximetely 150+ additional mailings from Kansas City

         Metro aree to the subjecr address in Hombrook CA. Investigat*cnr is ortgoing,




                  FURTHER YOUR AFFIANT SAYETTI NOT,



                                                               Paul Shade
                                                               United States Postal Inspcstor
                                                               Unitod Stales Postal Inspeotion Service


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